                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
 LIABILITY LITIGATION                               Case No. 16-md-02741-VC


 This document relates to:                          PRETRIAL ORDER NO. 2

 ALL ACTIONS


       The Court has received the parties' competing scheduling proposals for the general-

causation phase of the litigation. Neither side's proposal adequately ensures that document

productions and depositions will proceed in an orderly and systematic fashion. Therefore, in

anticipation of today's telephonic status conference, the parties should consider the following.

       Based on the material the parties have submitted thus far, there appear to be five groups

of witnesses whose documents either must to be produced or may need to be produced for the

general-causation phase. They are:
   -   Group A: The five custodians initially selected by Monsanto.

   -   Group B: The seven custodians whose documents were requested by certain plaintiffs'

       counsel before consolidation, and whose documents Monsanto has agreed to produce.

   -   Group C: The two custodians, John Acquavella and Eric Haupfear, whose documents the

       Court ruled at the most recent case management conference must be produced.

   -   Group D: The seven remaining custodians discussed at the initial case management

       conference whose documents might need to be produced (excluding the two, Steven
       Levine and Manda Sansom, whose documents the Court ruled need not be produced).
   -   Group E: Any remaining general-causation witnesses yet to be identified.

       The Phase One schedule must include deadlines for each group – document production

deadlines, deadlines by which depositions must be scheduled, and deadlines by which

depositions must be taken. The parties should be prepared to discuss those deadlines in today's

telephonic status conference.

       IT IS SO ORDERED.

Dated: November 22, 2016
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge




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